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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
HAMMOND DIVISION

IN RE: Laurence and Mary Shipp

  

BANKRUPTCY N
Debtor
AGREED IMMATERIAL MODIFICATION
OF PLAN AND ORDER
Comes now Debtor and Chapter | 3 Trustee Chael on the above-captioned Chapter 1 3
case and show the court that the Debtor(s) filed a Chapter 1 3 plan.

The Debtor(s), Creditor, and Trustee, hereby stipulate to the following Modification
of said Plan which they deem to be immaterial, and which they hereby move the Court to
approve, without further notice and opportunity for hearing by creditors and parties in
interest.

It is hereby Agreed by and between the Debtor and Trustee that said Plan be
modified as follows: Plan payments shall increase to $2,100 in June 2016.

And the Court having examined said Stipulated Modification of the Plan, and being
duly advised in the premises, finds that said proposed Modification does not materially
change the treatment of creditors, reduce the dividend to unsecured creditors, extend the
time for payment to unsecured creditors, or effect the feasibility of the Plan, and that said
proposed Immaterial Modification should be, and is hereby approved without further notice
or opportunity for hearing by any creditors, and that the holder of any claim or interest that
has previously accepted or rejected the Plan, as the case may be, is deemed to have accepted

the Plan as modified.

 

_. SO ORDERED. PAG
Dated: WA a 4\ i ‘. ie VA VAL
a JUDGE, U. S. BANKRUPTCY COURT
EXAMINED AND APPROVED:

fsi
David M. Dabertin, Attorney for Debtor(s):

Trustee Chael

Distribution

Debtor(s)

David M. Dabertin 5246 Hohman Avenue Hammond, Indiana 46320
Trustee and U.S. Trustee

 

 
